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                             Exhibit A
      State of California ex. rel. Ven-A-Care of the Florida Keys, Inc. v.
                        Abbott Laboratories, Inc., et al.

         Exhibit to Plaintiffs’ Motion for Partial Summary Judgment
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  BARCLAYS OFFICIAL CALIFORNIA CODE OF                         providers for a drug product sold by a particular manufac-
                     REGULATIONS                               turer or principal labeler in a standard package. The EAC
            TITLE 22. SOCIAL SECURITY                          for a drug product shall be:
      DIVISION 3. HEALTH CARE SERVICES
 SUBDIVISION 1. CALIFORNIA MEDICAL ASSIST-                     (A) The Direct Price as determined pursuant to section
                   ANCE PROGRAM                                51513.5; or
      CHAPTER 3. HEALTH CARE SERVICES
                                                               (B) The Average Wholesale Price minus 5 percent
 ARTICLE 7. PAYMENT FOR SERVICES AND SUP-
                                                               (AWP-5%) for all other drug products.
                           PLIES
 This database is current through 06/09/06, Register 2006,     (7) Average Wholesale Price (AWP), excepting temporary
                           No. 23.                             updates as provided in subdivision (a)(13), means the price
                                                               for a drug product or a medical supply product listed for a
s 51513. Pharmaceutical Services and Prescribed Drugs.
                                                               standard package in the Department's primary price refer-
(a) Definitions. The following definitions are applicable to   ence source, or for products not listed in the Department's
Sections 51513, 51513.2, 51513.5, 51520.1, and 59998.          primary price reference source, the price listed for a stand-
                                                               ard package in the secondary price reference source; and, if
(1) Generic Drug means the chemical or generic name, as        not listed in the secondary price source, the principal
determined by the United States Adopted Names Council          labeler's catalogue. The selection of the primary price refer-
(USANC) and accepted by the Federal Food and Drug Ad-          ence source and the secondary price reference source shall
ministration (FDA), of those drug products having the same     be based upon an evaluation of the various price reference
active ingredients.                                            sources available in relation to the following criteria:

(2) Generic Drug Type means the dosage form, strength,         (A) Accuracy and currentness of prices.
and package size, where applicable, of a specific generic
drug. Legend Generic Drug Type means any drug whose la-        (B) Comprehensiveness of data base.
beling states "Caution: Federal law prohibits dispensing
                                                               (C) Capability to meet the needs of the Department's fiscal
without prescription" or words of similar import.
                                                               intermediary.
(3) Drug Product means a brand or trade name of a generic
                                                               The primary price reference source will be the price refer-
drug type manufactured, packaged, or distributed by a spe-
                                                               ence source that, in the judgment of the Director, best meets
cific pharmaceutical company which is the principal labeler.
                                                               the criteria specified above. The secondary price reference
(4) Medical Supply Type means the particular kind of a         source will be the price reference source that, in the judg-
medical supply product.                                        ment of the Director when evaluated against the criteria lis-
                                                               ted above, is inferior to the primary price reference source
(5) Medical Supply Product means a brand or trade name of      but superior to all others evaluated.
a medical supply type manufactured, packaged, or distrib-
uted by a specific company which is the principal labeler.     (8) A Standard Package means 100s, pints or pounds, if
                                                               commercially available; or the commercially available size
(6) Estimated Acquisition Cost (EAC) for a medical sup-        that is next above 100s, pints or pounds; or, in the case of
ply product means the Average Wholesale Price or such          larger quantities, that size which is closest to the quantity
other price as the Department determines to be the price       dispensed; or, in the case of conventional dispensing units,
generally and currently paid by providers for a standard       the unit dispensed; or, in those cases in which the only com-
package. EAC for a drug product means the Department's         mercially available sizes are less than 100s, pints or pounds,
best estimate of the price generally and currently paid by     the package closest to the amount dispensed. Where the




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most frequently purchased size differs from the above lim-       product having a higher cost than the established FAC or
its, a standard package shall mean that package size determ-     MAIC/MAPC, means the EAC of the drug product or med-
ined by the Director to be the size most frequently pur-         ical supply product authorized by the Medi-Cal consultant.
chased by providers, and designated with a "++" on the           Such prior authorization requests shall be made by the pre-
Medi-Cal List of Contract Drugs. The National Drug Code          scriber or pharmacist, and shall contain adequate informa-
(NDC) of the Package from which the drug is dispensed            tion to justify the medical necessity for the higher cost drug
shall be used when billing Medi-Cal. Payment for the drug        product or medical supply product. For mail-in prior author-
dispensed is based on a standard package as defined in this      ization requests, the justifying information shall be either
subsection.                                                      handwritten and signed by the prescriber or pharmacist, or
                                                                 typewritten on the prescribers office letterhead or prescrip-
(9) Maximum Allowable Ingredient Cost (MAIC) means               tion blank and signed by the prescriber. Telephone prior au-
the price established by the Director for a generic drug type,   thorization requests shall be transmitted exclusively by the
and Maximum Allowable Product Cost (MAPC) means the              prescriber or pharmacist.
price established by the Director for a medical supply type.
                                                                 (13) Principal Labeler means the specific supplier of a
(10) Federal Allowable Cost (FAC) means the price estab-         product under whose brand, trademark, trade name or other
lished for a generic drug type by the United States Depart-      trade symbol a generic drug type or medical supply type is
ment of Health and Human Services in accordance with sec-        placed into its final commercially available package. The
tions 447.331 and 447.332, Title 42, Code of Federal Regu-       principal labeler does not include any person who affixes
lations for which drug product(s) are available to pharma-       supplemental labeling to an existing commercially available
cies from a regional California drug wholesaler with AWP         package of a drug or medical supply.
at or below such price.
                                                                 (14) Final commercially available package means that ori-
(11) Cost of the Drug Product or Medical Supply Product,         ginal processed and labeled drug or medical supply package
except in cases of prior authorization as provided in subsec-    which requires no further processing or labeling to be law-
tion (a)(14), means the lowest of the Estimated Acquisition      fully sold to a provider of services.
Cost (EAC), the Federal Allowable Cost (FAC), or the
Maximum Allowable Ingredient Cost (MAIC)/Maximum                 (b) Payment for Legend Generic Drug Types.
Allowable Product Cost (MAPC) for the Standard Package
size. The EAC, the FAC and the MAIC/MAPC shall be up-            (1) Payment for legend generic drug types dispensed by li-
dated by the Director no less often than every 60 days for       censed pharmacists in compliance with Section 51313 shall
medical supply products and no less often than every 30          consist of the cost of the legend generic drug type dis-
days for drug products. In order to reflect the most current     pensed, plus a professional fee for services. Payments for le-
price information available, the Director may temporarily        gend generic drug types dispensed by a clinic with a special
update the EAC, or the MAIC/MAPC, to reflect the price           permit pursuant to Business and Professions Code, Section
listed for a standard package in the principal labeler's cata-   4063, and provided in compliance with Section 51313 shall
log or catalog supplements, until the most recent change in      consist of the cost of the legend generic drug type dis-
price is reflected in the price listed in the Department's       pensed.
primary price reference source, or for products not listed in
                                                                 (A) The price charged to the program shall not exceed that
the Department's primary price reference source, the sec-
                                                                 charged to the general public.
ondary price reference source.
                                                                 (B) The pharmacist or the clinic with a special permit, to the
(12) Cost of the drug product or medical supply product for
                                                                 extent permitted by law, shall dispense the lowest cost drug
which Prior Authorization has been granted in accordance
                                                                 product within the generic drug type that the pharmacy or
with section 51003, for a drug product or medical supply




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clinic with a special permit has in stock which meets the        generic drug types listed in Part 1 of the Medi-Cal List of
medical needs of the beneficiary.                                Contract Drugs shall be limited to a minimum quantity of
                                                                 three cycles. Payment to a pharmacy for less than a quantity
(2) Payment to a pharmacy for both the professional fee          of three cycles shall be for the ingredient cost only. Excep-
component and the ingredient cost component for legend           tions to this requirement shall be:
generic drug types listed in Part 1 of the Medi-Cal List of
Contract Drugs and preceded by "#" shall be limited to           (A) The initial prescription for the legend generic drug type
drugs dispensed in minimum quantities of 100 dosage units.       for the beneficiary.
Payment to a pharmacy for less than 100 dosage units for le-
gend generic drug types listed in Part 1 of the Medi-Cal List    (B) Those prescriptions for which prior authorization is ob-
of Contract Drugs and preceded by "#" shall be for the in-       tained from a Medi-Cal consultant.
gredient cost only. One hundred dosage units means 100
                                                                 (5) Payment to a pharmacy for both the professional fee
tablets or capsules. Exceptions to this requirement shall be:
                                                                 component and the ingredient cost component for theophyl-
(A) The initial prescription for the legend generic drug type    line liquid or for liquid potassium supplement legend gener-
for the beneficiary.                                             ic drug types listed in Part 1 of the Medi-Cal List of Con-
                                                                 tract Drugs shall be limited to a minimum quantity of 480
(B) Those prescriptions for which prior authorization is ob-     cc. Payment to a pharmacy for less than a quantity of 480 cc
tained from a Medi-Cal consultant.                               shall be for the ingredient cost only. Exceptions to this re-
                                                                 quirement shall be:
(C) Those prescriptions for skilled nursing facility or inter-
mediate care facility inpatients; however, such prescriptions    (A) The initial prescription for the legend generic drug type
shall be subject to the requirements of subparagraph (b)(3)      for the beneficiary.
of this section.
                                                                 (B) Those prescriptions for which prior authorization is ob-
(3) Payment to a pharmacy for both the professional fee          tained from a Medi-Cal consultant.
component and the ingredient cost component of claims for
dispensing legend generic drug types listed in Part 1 of the     (c) Payment for Nonlegend Generic Drug Types Excluding
Medi-Cal List of Contract Drugs and preceded by "+" shall        Nonlegend Cough and Cold Drugs. Payment for nonlegend
be limited to a maximum of three such payments in any            generic drug types provided in compliance with Section
75-day period when the same legend generic drug type is          51313 shall consist of the cost of the generic drug type dis-
provided to the same beneficiary. Payment to a pharmacy          pensed plus 50 percent of cost, except that payments to clin-
for more than three such claims in any 75-day period shall       ics with special permits shall consist of the cost of the gen-
be limited to the ingredient cost only. Exceptions to this re-   eric drug type dispensed. The price charged to the program
quirement shall be:                                              shall not exceed that charged to the general public. The
                                                                 pharmacist or the clinic, to the extent permitted by law, shall
(A) The initial prescription for the legend generic drug type    dispense the lowest cost drug product within the generic
for the beneficiary.                                             drug type that the pharmacy or clinic has in stock which
                                                                 meets the medical needs of the beneficiary.
(B) Those prescriptions for which prior authorization is ob-
tained from a Medi-Cal consultant.                               (d) Payment for Nonlegend Cough and Cold Drug Products.

(C) Any drug dispensed in a quantity of 180 or more tablets      (1) Subject to the requirements of paragraph 2, payment for
or capsules.                                                     nonlegend cough and cold drug products listed in Part 3 of
                                                                 the Medi-Cal List of Contract Drugs provided in compliance
(4) Payment to a pharmacy for oral contraceptive legend          with Sections 51313 and 51313.3 shall be cost of the drug




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product supplied plus 50 percent of cost, except that pay-       ..   3.29
ment to clinics with special permits shall be only the cost of        24 and
the drug product. The price charged to the program shall         over....................................
not exceed that charged to the general public ( "shelf           . 5.76
price"). The pharmacist or the clinic, to the extent permitted   Sterile Eye Preparations
by law, shall dispense the lowest cost drug product within       All.....................................
the classification specified in Part 3 of the Medi-Cal List of   ........ 2.04
Contract Drugs, that the pharmacy or clinic has in stock         Nose and Ear Preparations
which meets the medical needs of the beneficiary.                All.....................................
                                                                 ........ 0.81
(2) Nonlegend cough and cold drug products listed in Part 3      Emulsions
of the Medi-Cal List of Contract Drugs are payable when               up to
supplied to beneficiaries in manufacturers' original trade       240cc...................................
packages, and in the package sizes specified in Part 3 of the    .. 0.81
Medi-Cal List of Contract Drugs; an equivalent to these ori-          240cc and
ginal trade package sizes is also payable, if the drug product   over..................................
supplied is that of the same manufacturer who produces the       1.64
original trade package sizes specified. Additional fee for        Liquids other than simple pouring or
professional prescription labeling with individual directions    reconstituting
for use is not payable. A record of the drug product supplied    All.....................................
may be kept separate from the prescription file. This record     ........ 0.99
shall contain all the information required on the pharmacy
claim form used as the payment claim to the program for the
drug product supplied.                                           (f) Fee for Partial Prescription Refills. The fee for a partial
                                                                 prescription refilled in accordance with Business and Pro-
(e) Fee for Service. The maximum professional fee compon-        fessions Code section 4229.5 or Health and Safety Code
ent for services shall be $4.05. Additional charges for ex-      section 11201 shall be the fee amount allowed for refill of
temporaneously compounded prescriptions shall be allowed         the full prescription quantity multiplied by the percent of the
according to the following schedule:                             full prescription quantity finally refilled. The total of the
                                                                 fees for partial refills of such prescription shall not exceed
Capsules and Papers
                                                                 the fee for the same prescription when refilled as a routine
6-36....................................
                                                                 service. The claim for the completed service, signed by the
....... $1.98
                                                                 provider, shall reflect such fee determination.
37-100..................................
........ 3.95                                                    (g) Drugs Administered for Chronic Outpatient Hemodia-
Ointments                                                        lysis. Drugs administered for chronic outpatient hemodia-
     up to 180                                                   lysis in renal dialysis centers and community hemodialysis
Gm....................................                           units are payable only when included in the all inclusive rate
1.64                                                             set forth in section 51509.2.
     180 Gm and
over.................................                              <General Materials (GM) - References, Annotations, or
3.29                                                                                     Tables>
Suppositories
     up to                                                       Note: Authority cited: Sections 10725, 14105, 14105.7 and
24......................................                         14124.5, Welfare and Institutions Code; and Section 208,




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Health and Safety Code. Reference: Section 4211, Business    (Register 85, No. 26).
and Professions Code; Sections 14105, 14105.7, 14105.35,
14132, 14133 and 14133.1, Welfare and Institutions Code;
                                                             6. Amendment of subsection (d) filed
Fiscal Year 1989-90 Budget Act (Chapter 93, Statutes of
                                                             8-1-85 as an emergency; effective upon
1989); 42 U.S.C. Section 1396a(a)(30)(A); and 42 C.F.R.
                                                             filing (Register 85, No. 32). A Certi-
Sections 447.301, 447.302, 447.304, 447.331, 447.332,
                                                             ficate of Compliance must be
447.333 and 447.334.
                                                             transmitted to OAL within 120 days or
                                                             emergency language will be repealed on
                        HISTORY
                                                             11-29-85.

1. Amendment of subsection (d) filed
                                                             7. Relettering of subsections (d)-(f) to
8-1-84 as an emergency; effective upon
                                                             subsections (e)-(g) and new
filing (Register 84, No. 31). A Certi-
                                                             subsection (d) filed 9-16-85 as an emer-
ficate of Compliance must be
                                                             gency; effective upon filing (Register
transmitted to OAL within 120 days or
                                                             85, No. 39). A Certificate of Compliance
emergency language will be repealed on
                                                             must be transmitted to OAL within
11-29-84. For prior history, see Re-
                                                             120 days or emergency language will be
gisters 83, No. 34; and 82, No. 49.
                                                             repealed on 1-14-86.

2. Amendment of subsections (a),
(a)(10), (a)(12) and (a)(13) filed                           8. Certificate of Compliance as to
10-3-84;                                                     8-1-85 order transmitted to OAL 11-20-85
effective thirtieth day thereafter                           and
(Register 84, No. 40).                                       filed 12-27-85 (Register 85, No. 52).


3. Certificate of Compliance as to                           9. Certificate of Compliance as to
8-1-84 order transmitted to OAL 11-27-84                     9-16-85 order transmitted to OAL 1-2-86
and                                                          and
filed 12-27-84 (Register 84, No. 52).                        filed 2-3-86 (Register 86, No. 7).


4. Amendment of subsection (d) filed                         10. Amendment of subsections (a)(9),
1-31-85 as an emergency; designated                          (a)(13), (b)(4) and (b)(5) filed
effective 2-1-85 (Register 85, No. 5). A                     7-28-86;
Certificate of Compliance must be                            designated effective 9-1-86 (Register
transmitted to OAL within 120 days or                        86, No. 31).
emergency language will be repealed on
6-                                                           11. Amendment of subsection (a)(13)
1-85.                                                        filed 6-10-87; operative 7-10-87
                                                             (Register
                                                             87, No. 25).
5. Certificate of Compliance transmitted
to OAL 5-23-85 and filed 6-24-85




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12. Amendment of subsections                                 operation of law on the following day.
(a)(12)-(14) filed 10-27-87 as an emer-
gency;
                                                             18. Amendment of subsection (a)(8) re-
operative 10-29-87 (Register 87, No.
                                                             filed 11-16-90 as an emergency; operat-
44). A Certificate of Compliance must
                                                             ive
be transmitted to OAL within 120 days or
                                                             11-16-90 (Register 90, No. 52). A Certi-
emergency language will be repealed on
                                                             ficate of Compliance must be
2-26-88.
                                                             transmitted to OAL by 3-18-91 or emer-
                                                             gency language will be repealed by
13. Certificate of Compliance transmit-                      operation of law on the following day.
ted to OAL 2-24-88 and filed 3-25-88
(Register 88, No. 14).                                       19. Amendment of subsections (a) and
                                                             (e), and Note filed 3-22-91; operative
14. Amendment of subsection (a)(8) filed                     4-
9-14-89 as an emergency; operative 10-                       21-91 (Register 91, No. 15).
16-89 (Register 89, No. 38). A Certific-
ate of Compliance must be transmitted                        20. Certificate of Compliance as to
to OAL within 120 days or emergency lan-                     11-16-90 order including amendment of
guage will be repealed on 2-13-90.                           NOTE
                                                             transmitted to OAL 3-12-91 and filed
                                                             4-11-91 (Register 91, No. 17).
15. Amendment of subsection (a)(8) re-
filed 2-13-90 as an emergency; operative
2-13-90 (Register 90, No. 9). A Certi-                       21. Amendment of subsections (a), (b),
ficate of Compliance must be                                 (c) and (d) and repealer of subsections
transmitted to OAL within 120 days or                        (e) and (f) filed 5-22-91 as an emer-
emergency language will be repealed on                       gency pursuant to Statutes of 1990,
6-                                                           chapter
13-90.                                                       456, section 36, p. 1658-1659; operative
                                                             5-22-91 (Register 91, No. 27). A
                                                             Certificate of Compliance must be trans-
16. Certificate of Compliance as to                          mitted to OAL by 9-19-91 or emergency
2-13-90 order transmitted to OAL 6-8-90                      language will be repealed by operation
and                                                          of law on the following day.
disapproved 7-9-90 (Register 90, No.
34).
                                                             22. Amendment of subsections (a), (b),
                                                             (c) and (d) refiled 9-19-91 as an
17. Amendment of subsection (a)(8) re-                       emergency; operative 9-20-91 (Register
filed 7-12-90 as an emergency; operative                     92, No. 4). A Certificate of
7-12-90 (Register 90, No. 34). A Certi-                      Compliance must be transmitted to OAL
ficate of Compliance must be                                 1-20-92 or emergency language will be
transmitted to OAL by 11-9-90 or emer-                       repealed by operation of law on the fol-
gency language will be repealed by




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lowing day.


23. Amendment of subsections (a), (b),
(c) and (d) refiled 1-23-92 as an
emergency; operative 1-17-92 (Register
92, No. 25). A Certificate of
Compliance must be transmitted to OAL
5-22-92 or emergency language will be
repealed by operation of law on the fol-
lowing day.


24. Certificate of Compliance as to
1-23-92 order including amendment of
subsections (a)(2), (a)(10)-(11),
(a)(13)-(14) and (d)(2) and Note trans-
mitted
to OAL 5-22-92 and filed 7-6-92
(Register 92, No. 28).


25. Amendment of subsections (b)(1),
(b)(1)(B), (c) and (d)(1) and Note filed
1-6-94; operative 2-7-94 (Register 94,
No. 1).


26. Amendment of subsections (a)(1)-(3),
(a)(5), (a)(10)-(12), (b)-(b)(1),
(b)(1)(B)-(b)(2)(A), (b)(3)-(b)(3)(A),
(b)(4)-(b)(4)(A), (b)(5)-(b)(5)(A) and
(c), repealer of subsections (a)(6)-(7)
and (a)(17) filed 1-9-95; operative 3-
1-95 (Register 95, No. 2).


27. Change without regulatory effect re-
numbering subsections filed 4-26-95
pursuant to section 100, title 1, Cali-
fornia Code of Regulations (Register
95, No. 17).

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